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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                     )
VIPULA D. VALAMBHIA, et al.,                         )
                                                     )
                                                     )
                       Plaintiffs,                   )
                                                     )
               v.                                    )    Civil Action No. 1:18-cv-370 (TSC)
                                                     )
UNITED REPUBLIC OF TANZANIA, et al.,                 )
                                                     )
                       Defendants.                   )
                                                     )



           UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE REPLY

       Defendants the Ministry of Works, Tanzania; the Tanzanian National Roads Agency; the

Ministry of Transport, Tanzania; and the Attorney General of the United Republic of Tanzania

(hereinafter “Tanzania” or “Defendants”) respectfully submit this unopposed motion requesting a

one-business day extension of time through July 16, 2018 to file their Reply in support of their

Motion to Dismiss Plaintiffs’ First Amended Complaint.

       Tanzania’s Reply is currently due on Friday, July 13, 2018. Due to unexpected

developments in another matter, Defendants’ undersigned lead counsel must travel abroad

tomorrow, July 12, making timely finalization of the Reply by Friday unexpectedly burdensome.

       The undersigned counsel for Defendants has conferred with counsel for Plaintiffs, who

indicated that Plaintiffs do not oppose this motion. This motion is not sought for delay, but to

ensure that counsel have adequate time to prepare their filing.




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Dated: July 11, 2018                Respectfully submitted,

                                    UNITED REPUBLIC OF TANZANIA; BANK OF
                                    TANZANIA; and MINISTRY OF DEFENCE AND
                                    NATIONAL SERVICE

                                    By its attorneys,

                                    /s/ Lawrence H. Martin
                                    Lawrence H. Martin (D.C. Bar No. 476639)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

and paper copies will be sent to those indicated as unregistered participants on July 11, 2018.


                                              /s/ Lawrence H. Martin
                                              Lawrence H. Martin




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